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4                         IN THE UNITED STATES DISTRICT COURT
5                       FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7    UNITED STATES OF AMERICA,                   Case No.: 1:15-cr-00319-006 LJO SKO
8                       Plaintiff,               ORDER AFTER DISCOVERY HEARING
9         v.
10   MARISOL QUINTERO SOLORIO,
11                      Defendant.
12

13         The Court conducted a hearing on August 22, 2017 on the Defense
14   Discovery Motion. All matters were resolved on the record with the exception of a
15   limited matter, which is the subject of this Order.
16         It is hereby ORDERED that the California Highway Patrol, one of the
17   investigating agencies involved in the ultimate arrest of the Defendant, is required
18   to respond to the Subpoena Duces Tecum that requested the MVARS, Disc
19   #07/29/15 K9, Event #11. The response must be made under penalty of perjury.
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21   IT IS SO ORDERED.
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        Dated:   August 22, 2017                    /s/ Lawrence J. O’Neill _____
23                                           UNITED STATES CHIEF DISTRICT JUDGE

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